Case 1:21-cr-00158-DCN Document 65-1 Filed 09/14/22 Page 1 of 4

DEFENDANT’S NAME: Michael Robert Osborn =| CASE INFORMATION:
JUVENILE: No RELATED COMPLAINT: No
PUBLIC or SEALED: Public
. CASE NUMBER: 1:21-cr-00158-DCN
SERVICE TYPE: Notice
(Summons/ Warrant/ Notice)
ISSUE: Yes County of Offense: Ada
INTERPRETER: No
If YES, , language:

_ CRIMINAL CHARGING INFORMATION ~

CHARGING DOCUMENT: Superseding Indictment

Felony: Yes Class A Misdemeanor: No
Class B or C Misdemeanor: No
{Peity Offense)
1 COUNT) Pe PENALTIES ©
_ STATUTE. : |E | BRIEF DESCRIPTION Le h id Supervised Release”
“(title and Section(s)) ” FORFEITURE | arme pescrrrtion nel Ue OEP =
ALLEGATION | ed and Special Assessment)
2 US. § 841 (a)(1), ONE Conspiracy to Distribute Up to 20 years in prison; up
(b)(1)(C), and 846 Controlled Substances | to $1,000,000 fine; at least 3
years of supervised release;
$100 special assessment
18 U.S.C. § 1936 TWO Conspiracy to Commit | Up to 20 years
Money Laundering imprisonment; $500,000 fine
or twice the value of the
property involved in
transaction; up to five years
supervised release; $100
Special Assessment
21 ULS.C. § 853 FORFEITURE Drug Forfeiture Forfeiture Allegation
ALLEGATION
18 U.S.C, § 982(a)(1) FORFEITURE Money Laundering Forfeiture Allegation
ALLEGATION
Date: 13 September 2022 Assistant U.S. Attorney: CHRISTOPHER 8. ATWOOD US
Telephone No.: (208) 334-1211
U.S. COURTS
SEP 14 2022
Revd Fited Time

STEPHEN W. KENYON
CLERK, DISTRICT OF IDAHO

Case 1:21-cr-00158-DCN Document 65-1 Filed 09/14/22 Page 2 of 4

CRIMINAL COVERSHEET

DEFENDANT’S NAME: Laura Denise Russell CASE INFORMATION;
JUVENILE: No RELATED COMPLAINT: No

PUBLIC or SEALED: Public
SERVICE TYPE: Notice
(Summons/ Warrant/ Notice)

CASE NUMBER: 1:21-cr-00158-DCN

ISSUE: Yes County of Offense: Ada

INTERPRETER; No

If YES, Fangs
: CRIMINAL CHARGING INF ORMATION |

CHARGING DOCUMENT: Superseding Indictment
Felony: Yes Class A Misdemeanor: No

Class B or C Misdemeanor: No

(Petty Offense)

 graTUrE S - COUNT) “PENALTIES © 2
(title an id Sec tion ) (| vorrerrore | . "BRIEF DESCRIPTION. Ce ‘Goelude Supervised Release os
: ALLEGATION. | | --/and Special Assessment) ©
21 US.C. § 841(a)(1), ONE Conspirac acy to Distribute Up to 20 years in prison; up
(b)(1)(C), and 846 Controlled Substances | to $1,000,000 fine; at least 3

years of supervised release;
$100 special assessment

18 U.S.C. § 1956 TWO Conspiracy to Commit | Up to 20 years

Money Laundering imprisonment; $500,000 fine
or twice the value of the
property involved in
transaction; up to five years
supervised release; $100
Special Assessment

21 U.S.C, § 853 FORFEITURE Drug Forfeiture Forfeiture Allegation
ALLEGATION
18 U.S.C. § 982(a){1) FORFEITURE Money Laundering Forfeiture Allegation
ALLEGATION
Date: 13 September 2022 Assistant U.S. Attorney: CHRISTOPHER S. ATWOOD CSA

Telephone No.: (208) 334-1211

U.S. COURTS
SEP 14 2022

Rovd Filed Time
STEPHEN Wy. KENYON
CLERK, DISTRICT OF IDAHO

Case 1:21-cr-00158-DCN Document 65-1 Filed 09/14/22 Page 3 of 4

CRIMINAL COVERSHEET _

DEFENDANT’S NAME: Troy Thomas Wheeler CASE INFORMATION:

JUVENILE: No RELATED COMPLAINT: No

PUBLIC or SEALED: Public
SERVICE-TYPE: Notice
(Summons/ Warrant/ Notice)

ISSUE: Yes
INTERPRETER: No

CASE NUMBER: 1:21-er-00158-DCN

County of Offense: Ada

If YES, sanguage:

~ CRIMIN AL CHARGIN G INF ORMATION

CHARGING DOCUMENT: Superseding Indictment

Felony: Yes | Class A Misdemeanor:
Class B or C Misdemeanor:

{Petty Offense)

No

No

“ST ATUTE. ~| COUNT) fo PENALTIES _ :
“(Title an d Sec tion () “FORFEITURE | BRIEF DESCRIPTION — “Gaclude Supervised Release
| ALLEGATION [oe | land Special Assessment)
2 U. S.C. § 841(a)(1), ONE Conspiracy to Distribute Up to 20 years in prison; up
(b)(1)(C), and 846 Controlled Substances | to $1,000,000 fine; at least 3
years of supervised release;
$100 special assessment
21 U.S.C. § 853 FORFEITURE Drug Forfeiture Forfeiture Allegation
ALLEGATION
Date: 13 September 2022 Assistant U.S. Attorney: CHRISTOPHER 8, ATWOOD CS i

Telephone No.: (208) 334-1211

U.S. COURTS
SEP 14 2022

Revd Filed hime

STEPHEN W. KENYON meee
GLEAK, DISTRICT OF IDAHO
Case 1:21-cr-00158-DCN Document 65-1 Filed 09/14/22 Page 4 of 4

CRIMINAL COVERSHEET

DEFENDANT’S NAME: Angela Marie Klinkhamer |CASE INFORMATION:

JUVENILE: No RELATED COMPLAINT: No
PUBLIC or SEALED: Public

SERVICE TYPE: Notice
(Summons/ Warrant/ Notice)

ISSUE: Yes County of Offense: Ada

INTERPRETER: No

CASE NUMBER: 1:21-er-00158-DCN

If YES, S TanglaBe:
_ CRIMINAL CHARGING INFORMATION | ee

CHARGING DOCUMENT: Superseding Indictment
Felony: Yes Class A Misdemeanor: No

Class B or C Misdemeanor: No

(Petty Offense}

STATUTE” ae - COUNT) [0 eT —PENALTIGS =
: “(Title an d Section oo ]e FORFEITURE - BRIEF DESCRIPTION e (etude Supervised Release
| “ALLEGATION © : “| and Special Assessment)
2 U.S.C. § 841 (a)(1), ONE “Conspiracy to Distribute Up to 26 years in prison; up
(b){1}(C), and 846 Controlled Substances | to $1,000,000 fine; at least 3

years of supervised release;
$100 special assessment

18 U.S.C, § 1956 TWO Conspiracy to Commit | Up to 20 years

Money Laundering imprisonment; $500,000 fine
or twice the value of the
property involved in
transaction; up to five years
supervised release; $100
Special Assessment

21 U.S.C. § 853 FORFEITURE Drug Forfeiture Forfeiture Allegation
ALLEGATION
18 U.S.C. § 982(a)(1) FORFEITURE Money Laundering Forfeiture Allegation
ALLEGATION
Date: 13 September 2022 Assistant U.S. Attorney: CHRISTOPHER S. ATWOOD 0) it

Telephone No.; (208) 334-1211

U.S. COURTS
SEP 14 2022

eva Filed Time.
STEPHEN W. KENYON
CLERK, DISTRICT OF IDAHO

